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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Southern District
                                                     __________  DistrictofofCalifornia
                                                                              __________

              In the Matter of the Search of                                 )
                                                                                                       21-MJ-0832
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.
        Host of Facebook User ID: “fishy.delasierra”                         )
            Facebook, Inc., 1601 Willow Road                                 )
               Menlo Park, California 94025
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A-2, incorporated herein by reference.

located in the             Northern               District of                 California                , there is now concealed (identify the
person or describe the property to be seized):


 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. §§ 952, 960, 963,               Importation of a Controlled Substance, Conspiracy to Import a Controlled
        841, and 846.                             Substance, Possession of a Controlled Substance with Intent to Distribute,
                                                  Conspiracy to Distribute a Controlled Substance.
          The application is based on these facts:
        See Attached Affidavit of HSI Special Agent Gary Roy.

           ✔ Continued on the attached sheet.
           u
           ✔ Delayed notice of 180 days (give exact ending date if more than 30 days: 08/30/2021
           u                                                                                                                 ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                                 HSI Special Agent Gary Roy
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            03/03/2021
                                                                                                         Judge’s signature

City and state: San Diego, California                                                 Hon. Karen S. Crawford, U.S. Magistrate Judge
                                                                                                       Printed name and title
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 1                                          AFFIDAVIT
 2         I, Special Agent Gary Roy, being duly sworn, hereby state as follows:
 3                   INTRODUCTION AND AGENT BACKGROUND
 4         1.    This affidavit is offered in support of an application by the United States of
 5 America for a warrant to search the electronic files maintained by Facebook, Inc. and
 6 associated with the following Facebook accounts:
 7                      Facebook User ID: Gordo Ramirez
 8                      Account No.: 100001973870919
                        (Target Account 1)
 9
                        Facebook User ID: fishy.delasierra;
10                      Account No.: 1000053463761755
11                      (Target Account 2)
12 (collectively referred to as the Target Accounts) and seize evidence of crimes, specifically
13 violations Title 21, United States Code, Title 21, U.S.C. §§ 952, 960, and 963, Importation
14 of a Controlled Substance (and Conspiracy to do the same); Title 21, U.S.C. §§ 841, and
15 846, Possession with Intent to Distribute a Controlled Substance (and Conspiracy to do the
16 same).
17       2.      I have been employed as a Special Agent with Homeland Security
18 Investigations (HSI) since 2018. I am currently assigned to the HSI Office of the Deputy
19 Special Agent in Charge, in San Ysidro, California. My current duties are to investigate the
20 smuggling of controlled substances into the United States as an HSI Special Agent, my
21 formal training consisted of six months of residential instruction at the Federal Law
22 Enforcement Training Center in Glynco, Georgia, which included training related to
23 narcotics and dangerous drugs. I also learned fundamentals of how to conduct criminal
24 investigations including, but not limited to, gathering of evidence, preservation of a crime
25 scene, and the use of electronic evidence. I have participated in training programs related to
26 controlled substances. I have also received training in the methods used by narcotics
27 traffickers to import, distribute, package and conceal controlled substances. I have
28 participated in several narcotics investigations and executed arrests for drug-related offenses,

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 1 including transportation and the importation of controlled substances. Additionally, through
 2 the course of my duties as a Special Agent, I have discussed narcotics smuggling and
 3 trafficking with other experienced narcotics investigators and received informal training
 4 regarding illegal drug trends and methods of operation for multi-kilogram drug smuggling,
 5 trafficking, and dealing in the San Diego area.
 6         3.    During my tenure with HSI, I have participated in the investigation of various
 7 narcotics trafficking organizations involved in the importation and distribution of
 8 controlled substances into and through the Southern District of California. Through my
 9 training, experience, and conversations with other law enforcement officers experienced in
10 narcotics trafficking investigations, I have gained a working knowledge of the operational
11 habits of narcotics traffickers, in particular those who attempt to import narcotics into the
12 United States from Mexico at the ports of entry. During the course of my duties I have (1)
13 worked as a surveillance agent who observed and recorded movements of individuals
14 suspected of trafficking drugs crossing the border from Mexico into the United States, and
15 while operating inside the United States; (2) executed or participated in numerous arrests
16 for drug-related offenses, including possession with the intent to distribute; and (3)
17 interviewed criminal defendants and witnesses in furtherance of investigations into the
18 illegal smuggling and trafficking of controlled substances.
19         4.    I am aware that it is common practice for narcotics traffickers to work in
20 concert utilizing third-party communications applications installed on cellular telephones.
21 A common tactic utilized by narcotics traffickers is to smuggle controlled substances into
22 the United States from Mexico by concealing the controlled substances in vehicles that
23 enter the United States at Ports of Entry such as the San Ysidro Port of Entry and the Otay
24 Mesa Port of Entry. With respect to the importation of narcotics in this manner, I am aware
25 that narcotics traffickers in Mexico frequently communicate with the individual (“the
26 driver”) responsible for driving the vehicle containing the concealed narcotics into the
27 United States. These communications can occur before, during and after the narcotics are
28 imported into the United States. For example, prior to the importation, narcotics traffickers

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 1 frequently communicate with the driver regarding arrangements and preparation for the
 2 narcotics importation. When the importation is underway, narcotics traffickers frequently
 3 communicate with the driver to remotely monitor the progress of the narcotics, provide
 4 instructions to the driver and warn accomplices about law enforcement activity. When the
 5 narcotics have been imported into the United States, narcotics traffickers may
 6 communicate with the driver to provide further instructions regarding the transportation of
 7 the narcotics to a destination within the United States.
 8         5.    The facts in this affidavit come from my personal observations, my training
 9 and experience, and information obtained from other agents and witnesses. This affidavit
10 is intended to show merely that there is sufficient probable cause for the requested warrant
11 and does not set forth all of my knowledge about this matter.
12         6.    Based on my training and experience and the facts as set forth in this affidavit,
13 there is probable cause to believe that violations of Title 21, United States Code, Sections
14 952, 960, 963, 841, and 846 have been committed by William RAMIREZ (RAMIREZ)
15 and David VILLASENOR (VILLASENOR). There is also probable cause to search the
16 information described in Attachment A-1 and Attachment A-2 for evidence of these crimes,
17 as described in Attachment B.
18                       FACTS SUPPORTING PROBABLE CAUSE
19         7.    On September 25, 2020, at approximately 6:06 PM, RAMIREZ applied for
20 permission to enter the United States at the Otay Mesa, California Port of Entry (Otay Mesa
21 POE). RAMIREZ was driver of a white 2001 Chevrolet Express bearing a California
22 license plate (the vehicle). During a primary inspection, a Customs and Border Protection
23 (CBP) Officer and a Narcotics/Human Detection Dog (NHDD) screened the vehicle. The
24 NHDD alerted to the presence of a trained odor emanating from the cargo area of the
25 vehicle. During secondary inspection, CBP Officers discovered 150 packages containing
26 approximately 297.05 kilograms of methamphetamine, and 1 package containing
27 approximately 0.56 kilograms of fentanyl concealed in the concrete fountain and garden
28 furniture in the cargo area of the vehicle. CBP Officers placed RAMIREZ under arrest.

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 1        8.     RAMIREZ agreed to waive his Miranda rights and speak to agents without
 2 an attorney present. In summary, RAMIREZ stated he had been recruited to smuggle
 3 narcotics into the United States by a friend and co-conspirator named David
 4 VILLASENOR. RAMIREZ stated the night before he crossed the border (September 24,
 5 2020) he had a conversation with VILLASENOR via Facebook Messenger about crossing
 6 the border with narcotics.
 7        9.     RAMIREZ stated, in summary, that VILLASENOR asked him if he was ready
 8 to “work” (referring to crossing a vehicle with narcotics). RAMIREZ stated he was ready
 9 to work. VILLASENOR provided additional instructions to RAMIREZ such as the address
10 in Mexico where he was to pick up the narcotics and describing to him what kind of vehicle
11 RAMIREZ would be driving.
12        10.    I received consent from RAMIREZ to search his cell phones. During the
13 interview, I searched RAMIREZs phone and identified Target Account 1, a Facebook
14 account that featured RAMIREZ’s picture, with the Facebook username: “Gordo Ramirez”
15 (https://www.facebook.com/profile.php?id=100001973870919). A subsequent search
16 revealed the conversation RAMIREZ mentioned having with VILLASENOR through
17 Facebook Messenger. In the conversation, VILLASENOR tells RAMIREZ: “the vans
18 gunna be out here” and “you gotta come out here and take the fountains.” RAMIREZ asked
19 VILLASENOR about the contents of the fountains saying, “So it’s less but more in them?”
20 to which VILLASENOR responds, “same amount.”
21        11.    In the Facebook Messenger conversation, RAMIREZ and VILLASENOR
22 also discuss recruiting new individuals to cross narcotics across the border. RAMIREZ
23 tells VILLASENOR “Yo I got a guy who wanna work too…trustworthy.” VILLASENOR
24 responds by saying, “if he starts working, everytime he passes ima pay him 4 and shoot
25 you 3…sound good my boy?” RAMIREZ responds, saying “LMAO (Laughing My Ass
26 Off), nvm(nevermind), I’ll do it myself.” When VILLASENOR asks why, RAMIREZ
27 responds “Rather keep the 7 myself.” In my training and experience, drug traffickers will
28 often refer to illicit activities as “work.” VILLASENOR appears to caution RAMIREZ

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 1 against this reasoning by telling him “yea that’s true but you gotta think smarter tho…you
 2 could make 7 and still make money off that foo too…that’s what most of my drivers doing.”
 3        12.    Department    of   Homeland       Security   record   checks   revealed   that
 4 VILLASENOR had a law enforcement contact on August 3, 2019. VILLASENOR was the
 5 driver of a vehicle containing 24.42 kilograms of marijuana at the Tecate, California Port
 6 of Entry. This encounter did not result in criminal charges.
 7        13.    I identified Target Account 2, an account with the Facebook username:
 8 “fishy.delasierra”   (https://www.facebook.com/profile.php?id=1000053463761755).           I
 9 compared photographs from this Facebook account with pictures taken from
10 VILLASENOR’s 2019 law enforcement contact, and it was the same person. The account
11 number associated with Target Account 2 was in communication with RAMIREZ using
12 Target Account 1 via Facebook Messenger.
13        14.    RAMIREZ was arrested and charged with Importation of Methamphetamine
14 and Fentanyl, both in violation of Title 21, U.S.C. 952 and 960 (see: United States v.
15 William Ramirez, case no.: 20CR3288-WQH (S.D. Cal 2020)).
16        15.    The investigation into this smuggling method continues and remains an
17 ongoing investigation.
18        16.    I have learned from consultation with law enforcement personnel that user
19 data retained by Facebook and furnished in response to legal process can contain messages
20 deleted by the user. Such deleted messages will include a note in such contents provided
21 by Facebook as “Deleted True”. Undeleted messages included in such contents provided
22 by Facebook will include the note “Deleted False”.
23                PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
24        17.    Law enforcement has not previously attempted to obtain the evidence sought
25 by this warrant.
26                      FACEBOOK AS SOCIAL MEDIA PROVIDER
27        15.    Facebook owns and operates a free-access social networking website of the
28 same name that can be accessed at http://www.facebook.com. Facebook allows its users

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 1 to establish accounts with Facebook, and users can then use their accounts to share written
 2 news, photographs, videos, and other information with other Facebook users, and
 3 sometimes with the general public.
 4         16.    Facebook asks users to provide basic contact and personal identifying
 5 information to Facebook, either during the registration process or thereafter.            This
 6 information may include the user’s full name, birth date, gender, contact e-mail addresses,
 7 Facebook passwords, physical address (including city, state, and zip code), telephone
 8 numbers, screen names, websites, and other personal identifiers. Facebook also assigns a
 9 user identification number to each account.
10         17.    Facebook users may join one or more groups or networks to connect and
11 interact with other users who are members of the same group or network. Facebook assigns
12 a group identification number to each group. A Facebook user can also connect directly
13 with individual Facebook users by sending each user a “Friend Request.” If the recipient
14 of a “Friend Request” accepts the request, then the two users will become “Friends” for
15 purposes of Facebook and can exchange communications or view information about each
16 other. Each Facebook user’s account includes a list of that user’s “Friends” and a “News
17 Feed,” which highlights information about the user’s “Friends,” such as profile changes,
18 upcoming events, and birthdays.
19         18.    Facebook users can select different levels of privacy for the communications
20 and information associated with their Facebook accounts. By adjusting these privacy
21 settings, a Facebook user can make information available only to himself or herself, to
22 particular Facebook users, or to anyone with access to the Internet, including people who
23 are not Facebook users. A Facebook user can also create “lists” of Facebook friends to
24 facilitate the application of these privacy settings. Facebook accounts also include other
25 account settings that users can adjust to control, for example, the types of notifications they
26 receive from Facebook.
27         19.    Facebook users can create profiles that include photographs, lists of personal
28 interests, and other information. Facebook users can also post “status” updates about their

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 1 whereabouts and actions, as well as links to videos, photographs, articles, and other items
 2 available elsewhere on the Internet. Facebook users can also post information about
 3 upcoming “events,” such as social occasions, by listing the event’s time, location, host, and
 4 guest list. In addition, Facebook users can “check in” to particular locations or add their
 5 geographic locations to their Facebook posts, thereby revealing their geographic locations
 6 at particular dates and times. A particular user’s profile page also includes a “Wall,” which
 7 is a space where the user and his or her “Friends” can post messages, attachments, and
 8 links that will typically be visible to anyone who can view the user’s profile.
 9         20.   Facebook allows users to upload photos and videos, which may include any
10 metadata such as location that the user transmitted when s/he uploaded the photo or video.
11 It also provides users the ability to “tag” (i.e., label) other Facebook users in a photo or
12 video. When a user is tagged in a photo or video, he or she receives a notification of the
13 tag and a link to see the photo or video. For Facebook’s purposes, the photos and videos
14 associated with a user’s account will include all photos and videos uploaded by that user
15 that have not been deleted, as well as all photos and videos uploaded by any user that have
16 that user tagged in them.
17         21.   Facebook users can exchange private messages on Facebook with other users.
18 Those messages are stored by Facebook unless deleted by the user. Facebook users can
19 also post comments on the Facebook profiles of other users or on their own profiles; such
20 comments are typically associated with a specific posting or item on the profile. In
21 addition, Facebook has a chat feature that allows users to send and receive instant messages
22 through Facebook Messenger. These chat communications are stored in the chat history
23 for the account. Facebook also has Video and Voice Calling features, and although
24 Facebook does not record the calls themselves, it does keep records of the date of each call.
25         22.   If a Facebook user does not want to interact with another user on Facebook,
26 the first user can “block” the second user from seeing his or her account.
27         23.   Facebook has a “like” feature that allows users to give positive feedback or
28 connect to particular pages. Facebook users can “like” Facebook posts or updates, as well

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 1 as webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can
 2 also become “fans” of particular Facebook pages.
 3         24.   Facebook has a search function that enables its users to search Facebook for
 4 keywords, usernames, or pages, among other things.
 5         25.   Each Facebook account has an activity log, which is a list of the user’s posts
 6 and other Facebook activities from the inception of the account to the present. The activity
 7 log includes stories and photos that the user has been tagged in, as well as connections
 8 made through the account, such as “liking” a Facebook page or adding someone as a friend.
 9 The activity log is visible to the user but cannot be viewed by people who visit the user’s
10 Facebook page.
11         26.   Facebook also has a Marketplace feature, which allows users to post free
12 classified ads. Users can post items for sale, housing, jobs, and other items on the
13 Marketplace.
14         27.   In addition to the applications described above, Facebook also provides its
15 users with access to thousands of other applications (“apps”) on the Facebook platform.
16 When a Facebook user accesses or uses one of these applications, an update about that the
17 user’s access or use of that application may appear on the user’s profile page.
18         28.   Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
19 address. These logs may contain information about the actions taken by the user ID or IP
20 address on Facebook, including information about the type of action, the date and time of
21 the action, and the user ID and IP address associated with the action. For example, if a
22 user views a Facebook profile, that user’s IP log would reflect the fact that the user viewed
23 the profile, and would show when and from what IP address the user did so.
24         29.   Social networking providers like Facebook typically retain additional
25 information about their users’ accounts, such as information about the length of service
26 (including start date), the types of service utilized, and the means and source of any
27 payments associated with the service (including any credit card or bank account number).
28 In some cases, Facebook users may communicate directly with Facebook about issues

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 1 relating to their accounts, such as technical problems, billing inquiries, or complaints from
 2 other users. Social networking providers like Facebook typically retain records about such
 3 communications, including records of contacts between the user and the provider’s support
 4 services, as well as records of any actions taken by the provider or user as a result of the
 5 communications.
 6         30.   As explained herein, information stored in connection with a Facebook
 7 account may provide crucial evidence of the “who, what, why, when, where, and how” of
 8 the criminal conduct under investigation, thus enabling the United States to establish and
 9 prove each element or alternatively, to exclude the innocent from further suspicion. In my
10 training and experience, a Facebook user’s IP log, stored electronic communications, and
11 other data retained by Facebook, can indicate who has used or controlled the Facebook
12 account. This “user attribution” evidence is analogous to the search for “indicia of
13 occupancy” while executing a search warrant at a residence. For example, profile contact
14 information, private messaging logs, status updates, and tagged photos (and the data
15 associated with the foregoing, such as date and time) may be evidence of who used or
16 controlled the Facebook account at a relevant time. Further, Facebook account activity can
17 show how and when the account was accessed or used. For example, as described herein,
18 Facebook logs the Internet Protocol (IP) addresses from which users access their accounts
19 along with the time and date. By determining the physical location associated with the
20 logged IP addresses, investigators can understand the chronological and geographic
21 context of the account access and use relating to the crime under investigation. Such
22 information allows investigators to understand the geographic and chronological context
23 of Facebook access, use, and events relating to the crime under investigation. Additionally,
24 Facebook builds geo-location into some of its services. Geo-location allows, for example,
25 users to “tag” their location in posts and Facebook “friends” to locate each other. This
26 geographic and timeline information may tend to either inculpate or exculpate the
27 Facebook account owner. Last, Facebook account activity may provide relevant insight
28 into the Facebook account owner’s state of mind as it relates to the offense under

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 1 investigation. For example, information on the Facebook account may indicate the owner’s
 2 motive and intent to commit a crime (e.g., information indicating a plan to commit a crime),
 3 or consciousness of guilt (e.g., deleting account information in an effort to conceal
 4 evidence from law enforcement).
 5         31.    Therefore, the computers of Facebook are likely to contain all the material
 6 described above, including stored electronic communications and information concerning
 7 subscribers and their use of Facebook, such as account access information, transaction
 8 information, and other account information.
 9         32.    Based upon my experience and training, consultation with other law
10 enforcement officers experienced in narcotics trafficking investigations, and all the facts
11 and opinions set forth in this affidavit, I believe that the records and contents of electronic
12 communications are stored within the target Facebook account. In light of the above facts
13 and my experience and training, there is probable cause to believe that RAMIREZ and
14 VILLASENOR were using the Target Accounts to communicate with each other and
15 others to further the importation of illicit narcotics into the United States. Further, in my
16 training and experience, narcotics traffickers may be involved in the planning and
17 coordination of a drug smuggling event in the days and weeks prior to an event. Co-
18 conspirators are also often unaware of a defendant’s arrest and will continue to attempt to
19 communicate with a defendant after their arrest to determine the whereabouts of the
20 narcotics. Based on my training and experience, it is also not unusual for individuals, such
21 as RAMIREZ and VILLASENOR, to attempt to minimize the amount of time they were
22 involved in their smuggling activities, and for the individuals to be involved for weeks and
23 months longer than they claim. Accordingly, I request permission to search the Target
24 Accounts for data beginning on June 25, 2020, up to and including September 26, 2020,
25 the day after RAMIREZ’ arrest.
26          INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED
27         33.    I anticipate executing this warrant under the Electronic Communications
28 Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using

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 1 the warrant to require Facebook to disclose to the government copies of the records and
 2 other information (including the content of communications) particularly described in
 3 Section I of Attachment B. Upon receipt of the information described in Section I of
 4 Attachment B, government-authorized persons will review that information to locate the
 5 items described in Section II of Attachment B.
 6          PROCEDURES FOR ELECTRONICALLY STORED INFORMATION
 7       34.     Federal agents and investigative support personnel are trained and
 8 experienced in identifying communications relevant to the crimes under investigation. The
 9 personnel of Facebook are not. It would be inappropriate and impractical for federal agents
10 to search the vast computer network of Facebook for the relevant accounts and then to
11 analyze the contents of those accounts on the premises of Facebook. The impact on
12 Facebook's business would be disruptive and severe.
13       35.     Therefore, I request authority to seize all content, including electronic
14 communications and attachments, stored instant messages, stored voice messages,
15 photographs, and any other content from the Facebook account, as described in Attachment
16 B. In order to accomplish the objective of the search warrant with a minimum of
17 interference with the business activities of Facebook, to protect the privacy of Facebook
18 subscribers whose accounts are not authorized to be searched, and to effectively pursue
19 this investigation, United States Homeland Security Investigations seeks authorization to
20 allow Facebook to make a digital copy of the entire contents of the account subject to
21 seizure. That copy will be provided to me or to any authorized federal agent. The copy
22 will be imaged, and the image will then be analyzed to identify communications and other
23 electronic records subject to seizure pursuant to Attachment B. Relevant electronic records
24 will be copied to separate media. The original media will be sealed and maintained to
25 establish authenticity, if necessary.
26       36.     Analyzing the data to be provided by Facebook may require special technical
27 skills, equipment, and software. It may also be very time-consuming. Searching by
28 keywords, for example, often yields many thousands of "hits," each of which must be

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 1 reviewed in its context by the examiner to determine whether the data is within the scope
 2 of the warrant. Merely finding a relevant "hit" does not end the review process. Keyword
 3 searches do not capture misspelled words, reveal the use of coded language, or account for
 4 slang. Keyword searches are further limited when electronic records are in or use foreign
 5 languages. Certain file formats also do not lend themselves to keyword searches.
 6 Keywords search text.        Many common electronic communications, database and
 7 spreadsheet applications, which files may have been attached to electronic mail, do not
 8 store data as searchable text. Instead, such data is saved in a proprietary non-text format.
 9 And, as the volume of storage allotted by service providers increases, the time it takes to
10 properly analyze recovered data increases dramatically. The ISPs do not always organize
11 the electronic files they provide chronologically, which makes review even more time
12 consuming and may also require the examiner to review each page or record for responsive
13 material.
14       37.     Based on the foregoing, searching the recovered data for the information
15 subject to seizure pursuant to this warrant may require a range of data analysis techniques
16 and may take weeks or even months. Keywords need to be modified continuously based
17 upon the results obtained and, depending on the organization, format, and language of the
18 records provided by the ISP, examiners may need to review each record to determine if it
19 is responsive to Attachment B. The personnel conducting the examination will complete
20 the analysis within ninety (90) days of receipt of the data from the service provider, absent
21 further application to this court.
22       38.     Based upon my experience and training, and the experience and training of
23 other agents with whom I have communicated, it is necessary to review and seize all
24 electronic mails that identify any users of the subject account and any electronic mails sent
25 or received in temporal proximity to incriminating electronic mails that provide context to
26 the incriminating mails.
27       39.     All forensic analysis of the imaged data will employ search protocols directed
28 exclusively to the identification and extraction of data within the scope of this warrant.

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 1                           GENUINE RISKS OF DESTRUCTION
 2        40.     Based upon my experience and training, and the experience and training of
 3 other agents with whom I have communicated, electronically stored data can be
 4 permanently deleted or modified by users possessing basic computer skills. In this case,
 5 only if the subject receives advance warning of the execution of this warrant, will there be
 6 a genuine risk of destruction of evidence.
 7                                           CONCLUSION
 8        41.     Based on the foregoing, I respectfully request that the Court issue the
 9 proposed search warrant.
10        42.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is
11 not required for the service or execution of this warrant. The government will execute this
12 warrant by serving it on Facebook. Because the warrant will be served on Facebook, who
13 will then compile the requested records at a time convenient to it, reasonable cause exists
14 to permit the execution of the requested warrant at any time in the day or night.
15        43.     This Court has jurisdiction to issue the requested warrant because it is “a court
16 of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A)
17 & (c)(1)(A). Specifically, the Court is “a district court of the United States for the Southern
18 District of California that – has jurisdiction over the offense being investigated.” 18 U.S.C.
19 § 2711(3)(A)(i).
20 //
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 1              REQUEST FOR SEALING AND PRECLUSION OF NOTICE
 2       44.     This is an ongoing investigation of which the target(s) are unaware. It is very
 3 likely, based upon the above, that evidence of the crimes under investigation exists on
 4 computers subject to the control of the targets. There is reason to believe, based on the
 5 above, that premature disclosure of the existence of the warrant will result in destruction or
 6 tampering with that evidence and seriously jeopardize the success of the investigation.
 7 Accordingly, it is requested that this warrant and its related materials be sealed until further
 8 order of the Court. In addition, pursuant to Title 18, United States Code, Section 2705(b),
 9 it is requested that this Court order the electronic service provider to whom this warrant is
10 directed not to notify anyone of the existence of this warrant, other than its personnel
11 essential to compliance with the execution of this warrant until August 30, 2021 (180 days),
12 absent further order from this Court.
13
14         I declare under penalty of perjury that the foregoing is true and correct to the best of
15 my knowledge and belief.
16
   ____________________________
17
   Special Agent Gary Roy
18 Homeland Security Investigations
19
   Sworn and attested to under oath by telephone, in accordance with Federal Rule
20 of Criminal Procedure 4.1, this 3rd day of March, 2021.
21
22 _________________________
23 Honorable Karen S. Crawford
   United States Magistrate Judge
24
25
26
27
28

                                                14
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                               ATTACHMENT A-2

                        PROPERTY TO BE SEARCHED

This warrant applies to information associated with the following Facebook
user IDs and/or account names:

                  Facebook User ID: fishy.delasierra
                  Account No.: 1000053463761755
                  (Target Account 2)

that is stored at premises owned, maintained, controlled, or operated by Facebook
Inc., a company headquartered in Menlo Park, California. Facebook, Inc. is an
Internet Service Provider with its primary computer information systems and other
electronic communications and storage systems, records and data located at:

                  1601 Willow Road
                  Menlo Park, California 94025
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                                    ATTACHMENT B

                       PARTICULAR THINGS TO BE SEIZED

I.       Service of Warrant
         The officer executing the warrant shall permit Facebook, Inc., as custodian of the
computer files described in Section II below, to locate the files and copy them onto
removable electronic storage media and deliver the same to the officer.
II.      Information to be disclosed by Facebook
         To the extent that the information described in Attachment A-1 and Attachment
A-2 is within the possession, custody, or control of Facebook Inc. (“Facebook”),
regardless of whether such information is located within or outside of the United States,
including any messages, records, files, logs, or information that have been deleted but
are still available to Facebook, or have been preserved pursuant to a request made under
18 U.S.C. § 2703(f), Facebook is required to disclose the following information to the
government for each user ID listed in Attachment A-1 and Attachment A-2:
         (a)   Contact and personal identifying information, including: full name, user
               identification number, birth date, gender, contact e-mail addresses,
               physical address (including city, state, and zip code), telephone numbers,
               screen names, websites, and other personal identifiers.
         (b)   Activity logs for the account and all other documents showing the user’s
               posts and other Facebook activities June 25, 2020, up to and including
               September 26, 2020;
         (c)   Photos and videos uploaded by that user ID and all photos and videos
               uploaded by any user that have that user tagged in them from June 25,
               2020, up to and including September 26, 2020, including Exchangeable
               Image File (“EXIF”) data and any other metadata associated with those
               photos and videos;
         (d)   Profile information; News Feed information; status updates; videos,
               photographs, articles, and other items; Notes; Wall postings; friend lists,
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          including the friends’ Facebook user identification numbers; groups and
          networks of which the user is a member, including the groups’ Facebook
          group identification numbers; future and past event postings; rejected
          “Friend” requests; comments; gifts; pokes; tags; and information about the
          user’s access and use of Facebook applications;
    (e)   Records or other information regarding the devices and internet browsers
          associated with, or used in connection with, that user ID, including the
          hardware model, operating system version, unique device identifiers,
          mobile network information, and user agent string;
    (f)   Other records and contents of communications and messages made or
          received by the users from June 25, 2020, up to and including September
          26, 2020, including all Messenger activity, private messages, chat history,
          video and voice calling history, and pending “Friend” requests;
    (g)   “Check ins” and other location information;
    (h)   IP logs, including all records of the IP addresses that logged into the
          account;
    (i)   Records of the account’s usage of the “Like” feature, including all
          Facebook posts and all non-Facebook webpages and content that the user
          has “liked”;
    (j)   Information about the Facebook pages that the account is or was a “fan”
          of;
    (k)   Past and present lists of friends created by the account;
    (l)   Records of Facebook searches performed by the account from June 25,
          2020, up to and including September 26, 2020;
    (m)   Information about the user’s access and use of Facebook Marketplace;
    (n)   The types of service utilized by the user;
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       (o)   The length of service (including start date) and the means and source of
             any payments associated with the service (including any credit card or
             bank account number);
       (p)   Privacy settings and other account settings, including privacy settings for
             individual Facebook posts and activities, and all records showing which
             Facebook users have been blocked by the account;
       (q)   All records pertaining to communications between Facebook and any
             person regarding the user or the user’s Facebook account, including
             contacts with support services and records of actions taken.
       Facebook is hereby ordered to disclose the above information to the government
within 7 days of issuance of this warrant.
III.   Search of the Data
       The search of the data supplied by the ISP pursuant to this warrant will be
conducted by United States Homeland Security Investigations as provided in the
“Procedures For Electronically Stored Information” of the affidavit submitted in
support of this search warrant and will be limited to the period of June 25, 2020, up to
and including September 26, 2020, and to the seizure of:
       a.    Communications, records, and attachments tending to discuss or establish
             violations of Title 21, U.S.C. §§952, 960, 963, 841, and 846;
       b.    Communications, records, and attachments tending to identify William
             RAMIREZ, David VILLASENOR, and any co-conspirators involved in
             the activities in III(a) above; and
       c.    Communications, records, and attachments that provide context to any
             communications described above, such as electronic communications sent
             or received in temporal proximity to any relevant electronic
             communications and any electronic communications tending to identify
             users of the subject accounts;
which are evidence of violations of 21 U.S.C. §§ 952, 960, 963, 841, and 846.
